   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 1 of 6 PAGEID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


ANGEL YOUNG.,                                     ) CASE NO.
                                                  )
                       Plaintiff,                 ) JUDGE
                                                  )
       vs.                                        )
                                                  )
CBRE FACILITY SOURCE,                             )
                                                  )
                       Defendant.                 ) NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant FacilitySource, LLC, doing

business as CBRE FacilitySource (“FacilitySource”), and misnamed by Plaintiff as CBRE

Facility Source, by and through counsel, hereby removes this action from the Court of Common

Pleas of Franklin County, Ohio, to the United States District Court for the Southern District of

Ohio, Eastern Division. This action, captioned Angel Young v. CBRE Facility Source, Case No.

21-CV-002340, in the state court, is removable because this Court has subject matter jurisdiction

by way of diversity jurisdiction pursuant to 28 U.S.C. § 1332. FacilitySource respectfully asserts

the following facts to support removal, and is doing so, expressly reserves all other questions,

other than that of removal, for the purpose of further pleadings.

                             PROCEDURE AND BACKGROUND

       1.      On or about April 14, 2021, Plaintiff Angel Young (“Plaintiff”) commenced this

civil action in the Court of Common Pleas of Franklin County, Ohio (“State Court”), which

matter was styled Angel Young v. CBRE Facility Source, Case No. 21-CV-002340 (the

“Action”).

       2.      The Action includes claims for race discrimination and retaliation in violation of

Ohio Rev. Code Chapter 4112.
   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 2 of 6 PAGEID #: 2




       3.       The Complaint was filed electronically with the Clerk of the State Court and the

Action is currently pending in the State Court.

       4.       Plaintiff misnamed FacilitySource in her Complaint in the Action, and she also

erred in instructing the State Court to issue a summons and the Complaint to FacilitySource at

135 Hardscrabble Lake Drive, Chappaqua, NY 10514. This address has no connection to

FacilitySource.

       5.       At the time of filing this Notice of Removal, FacilitySource has not filed an

Answer to the Complaint or otherwise appeared in the Action.

       6.       Despite not having been served with a summons or a copy of the Complaint,

FacilitySource discovered that the Complaint had been filed, and on May 19, 2021,

FacilitySource’s counsel contacted Plaintiff’s counsel and orally waived service of the summons

and copy of the Complaint. On June 16, 2021, FacilitySource’s counsel confirmed that waiver in

a writing.

       7.       Pursuant to 28 U.S.C. § 1446(a), the only process, pleadings, and orders filed or

issued in the Action are: Plaintiff’s Complaint (Exhibit A); the Summons (Exhibit B), and the

Clerk’s Original Case Schedule (Exhibit C).

                                 DIVERSITY JURISDICTION

       8.       Removal of the Action is proper under 28 U.S.C. §§ 1441(a) and (b) because this

Court has diversity jurisdiction under 28 U.S.C. § 1332(a). As further explained below, there is

complete diversity of citizenship and the amount in controversy exceeds $75,000.

       9.       In Paragraph 1 of her Complaint, Plaintiff alleges that she resides in Franklin

County, Ohio.




                                                  2
   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 3 of 6 PAGEID #: 3




       10.     In Paragraph 2 of her Complaint, Plaintiff alleges that “Defendant CBRE” is a

foreign corporation with its principal place of business in Chappaqua, New York. Plaintiff’s

allegation is incorrect in several regards.

       11.     FacilitySource is a Delaware limited liability company with its principal place of

business at 2020 N. Central Ave., Ste. 1200, Phoenix, Arizona 85004.

       12.     FacilitySource’s sole member is FacilitySource Holdings, LLC, which is a

Delaware limited liability company with its principal place of business at 2020 N. Central Ave.,

Ste. 1200, Phoenix, Arizona 85004.

       13.     FacilitySource Holdings, LLC’s sole member is CBRE, Inc., which is a Delaware

corporation with its principal place of business at 2100 McKinney Avenue, Suite 1250, Dallas,

Texas 75201.

       14.     FacilitySource is the only defendant named in the Action. As such, there is

complete diversity of citizenship between Plaintiff and Defendant.

       15.     The amount in controversy exceeds $75,000, exclusive of interests and costs. “[A]

defendant’s notice of removal need include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v.

Owens, 135 S. Ct. 547, 554 (2014). “[W]hen a defendant seeks federal-court adjudication, the

defendant’s amount-in-controversy allegation should be accepted when not contested by the

plaintiff or questioned by the court.” Id. at 553.

       16.     Pursuant to Ohio pleading, Plaintiff does not offer a definitive statement as to

alleged damages. Rather, Plaintiff alleges that monetary damages more than $25,000 and also

“attorneys’ fees, . . . and any and all other relief to which [she] is entitled to in law and in equity,

including but limited to compensatory, consequential and punitive damages.” See Compl. ¶¶ 31-




                                                     3
   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 4 of 6 PAGEID #: 4




32, Prayer for Relief. See Total Quality Logistics, LLC v. Alliance Shippers, Inc., Case No. 1:19-

cv-1052, 2020 WL 3166672 (S.D. Ohio June 15, 2020) (citing to Heyman v. Lincoln Nat’l Life

Ins. Co., No. 18-5622, 781 Fed. App’x 463, 471-72, 2019 WL 3229347, at *6 (6th Cir. July 18,

2019) (“When determining the jurisdictional amount in controversy in diversity cases, punitive

damages must be considered . . . unless it is apparent to a legal certainty that such cannot be

recovered.”) (citations omitted)).

       17.     Thus, based on the allegations in Plaintiff’s Complaint, the amount of controversy

in the Action can be fairly read to aggregate in excess of $75,000, exclusive of interest and costs.

       18.     Accordingly, FacilitySource is entitled to remove the Action pursuant to 28

U.S.C. § 1446, because diversity of citizenship exists and the amount in controversy exceeds

$75,000, exclusive of interest and costs, as required by 28 U.S.C. § 1332.

                                 PROPRIETY OF REMOVAL

       19.     This Notice of Removal is timely filed with this Court pursuant to 28 U.S.C.

§ 1446(b), as it is within thirty (30) days after FacilitySource waived receiving notice of the

Action, which was subsequently confirmed in a writing.

       20.     The Action was filed in a state court within the judicial district of the United

States District Court for the Southern District of Ohio.

       21.     FacilitySource will give written notice of this removal to Plaintiff and will file an

appropriate Notice of Filing Notice of Removal with the Court of Common Pleas of Franklin

County, Ohio, as required by 28 U.S.C. § 1446(d). A copy of the Notice to be filed with the

Court of Common Pleas is attached hereto as EXHIBIT D.

       22.     This Notice of Removal is signed pursuant to Federal Rule of Civil Procedure 11,

as required by 28 U.S.C. § 1446(a).




                                                 4
   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 5 of 6 PAGEID #: 5




                              ADDITIONAL CONSIDERATIONS

        23.    The facts and allegations in this Notice of Removal are derived from the

Complaint filed in this Action. FacilitySource does not concede the truth or accuracy of any of

the factual allegations contained in the Complaint, including without limitation that it employed

Plaintiff.

        24.    FacilitySource expressly reserves all rights, defenses, and motions otherwise

available to it, including but not limited to those under Rule 12 of the Federal Rules of Civil

Procedure.

        25.    FacilitySource expressly reserves the right to submit additional evidence in

support of this Notice of Removal, including as may be necessary to address and refute any

contentions set forth in a motion to remand.

        WHEREFORE, FacilitySource removes the Action from the Court of Common Pleas of

Franklin County, Ohio, so that all further proceedings in this action be held before this Court.

                                                 Respectfully submitted,


This 16th day of June, 2021                      s/ Joseph N. Gross
                                                 JOSEPH N. GROSS (0056241), Trial Attorney
                                                 KELLY E. MULRANE (0088133)
                                                 BENESCH, FRIEDLANDER, COPLAN &
                                                   ARONOFF LLP
                                                 200 Public Square, Suite 2300
                                                 Cleveland, Ohio 44114-2378
                                                 Telephone: 216.363.4500
                                                 Facsimile: 216.363.4588
                                                 Email: jgross@beneschlaw.com
                                                         kmulrane@beneschlaw.com

                                                 Attorneys for Defendant




                                                 5
   Case: 2:21-cv-03635-JLG-KAJ Doc #: 1 Filed: 06/16/21 Page: 6 of 6 PAGEID #: 6




                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 16th day of June, 2021, I filed a Notice of Removal by

CM/ECF, and served a copy of same by U.S. mail, postage prepaid, and electronic mail upon

Plaintiff’s counsel as follows:

           Michael W. DeWitt
           DeWitt Law, LLC
           4200 Regent Street, Suite 200
           Columbus, OH 43219
           mdewitt@dewittlawco.com
           Attorney for Plaintiff

                                              s/ Joseph N. Gross
                                              Joseph N. Gross (0056241), Trial Attorney
                                              One of the Attorneys for Defendant




                                                6
14706673
